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          UNITED STATES DISTRICT COURT DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                     )
                                             )
                                     v.      ) 19-cr-10063-DJC
                                             )
RANDALL CRATER,                              )
                                             )
       Defendant )




              EMERGENCY MOTION TO QUASH OR ALTERNATIVELY
                       APPOINT NEW CJA COUNSEL

       COMES NOW, Mark Gillespie, through his appointed counsel, Inga L. Parsons, and

hereby moves on an emergency basis to quash the subpoena served on this date on Mr. Gillespie,

or, alternatively, immediately appoint new CJA counsel for any appearance by Mr. Gillespie. In

support of this motion, counsel advises as follows:

       1. Counsel was appointed to represent Mr. Gillespie as a potential grand jury witness on

           May 3, 2019.

       2. Mr. Gillespie was never called as a witness.

       3. On June 21, 2022, Mr. Crater’s counsel contacted Defense counsel regarding Mr.

           Gillespie possibly testifying and on June 22, 2022 defense counsel advised, among

           other things including Fifth Amendment rights, that she was going to be out of town

           July 9th through August 5th.

       4. Thereafter, Counsel reviewed the witness and exhibit lists filed by the parties on June

           24, 2022. Neither party listed Mr. Gillepsie as a witness.

       5. On this date, July 6, 2022, Mr. Gillepsie was subpoenaed to testify on July 12, 2022;

           just four business days in advance of the trial and when counsel is unavailable.
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6. Counsel will be in San Diego the week of July 11, 2022, with her nieces, and will be

   flying out on July 8th for this previously planned retreat following the death of counsel’s

   sister and her nieces’ mother.

7. All arrangements have been made paid for and they are non-refundable and it is the

   only time available.

8. Counsel will be in New York City in the Southern District of New York on another

   case tomorrow, July 7, 2022, and will be away until after August 5, 2022.

9. Moreover, Mr. Gillespie is indigent, and it does not appear that witness fees and travel

   expenses were provided though it is difficult to read the subpoena attachment.

10. Mr. Gillespie is unable to pay for travel and expenses in advance.

11. Furthermore, subpoenaing Mr. Gillespie less than a week before a scheduled

   appearance when he resides in Michigan is not reasonable especially when it is known

   that his attorney is unavailable and he was not put on defense counsel’s initial witness

   list (or the government’s).

12. If Mr. Gillespie is required to appear, counsel requests that he be appointed new CJA

   counsel immediately who can be available to handle these issues and be physically

   present including dealing with any immunity and fifth amendment issues (counsel will

   be available by telephone to assist in the transition) and that all fees and expenses be

   furnished in advance.

13. Counsel is available to appear telephonically this afternoon or tomorrow (she has a 4:00

   p.m. scheduling conference that should be finished by 4:30 p.m. and has flexibility as

   to her SDNY schedule tomorrow).
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       14. In the absence of appointment of new counsel and tendering fees, Counsel moves to

           quash the subpoena.

       15. Mr. Gillespie has no objection to having new counsel appointed.

       16. For other good and just cause.

       WHEREFORE it is respectfully requested that this Court QUASH the subpoena or,

alternatively, immediately appoint new counsel to represent him.




                                                     Respectfully submitted,

                                                     By his attorney,

                                                     /s/ Inga L. Parsons
                                                     ______________________
                                                     Inga L. Parsons (BBO#675211)
                                                     3 Bessom Street, No. 234
                                                     Marblehead, MA 01945
                                                     781-581-2262

                                 CERTIFICATE OF SERVICE

       I hereby certify that the foregoing was served on the 6th day of July, 2022 upon the all
counsel or record by email delivery.


                      ______/s/____Inga L. Parsons_______________
                                           Inga L. Parsons
